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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-11-165 (6 and 7)
                                                  §
                                                  §
SHAWN LEWIS WASHINGTON                            §
LISA WEISZ LIPTON                                 §

                                                ORDER

       Defendant Shawn Washington filed an unopposed motion for continuance, (Docket Entry

No.182). Defendant Lipton or the government are opposed to the motion. The court finds that the

interests of justice are served by granting this continuance and that those interests outweigh the

interests of the public and the defendants in a speedy trial. The motion for continuance is

GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                     April 1, 2013
       Responses are to be filed by:                   April 15, 2013
       Pretrial conference is reset to:                April 22, 2013 at 8:45 a.m.
       Jury trial and selection are reset to:          April 29, 2013 at 9:00 a.m.


               SIGNED on December 11, 2012, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
